     Case 3:23-cr-01291-TWR Document 283 Filed 06/03/24 PageID.1782 Page 1 of 7




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 8
                          UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10
    UNITED STATES OF AMERICA,           Case No.: 23-CR-1291-TWR
11
12                           Plaintiff, United States’ Supplemental Motion in Limine
                                        to Admit Defendant’s Cellphone Evidence
13        v.
14       LEONARD DARNELL GEORGE
15       aka “The Goalie” (1)                       The Honorable Todd W. Robinson

16                                 Defendant.
17
            The United States moves to admit text messages and photographs extracted from
18
     Defendant Leonard Darnell George’s (“Defendant”) cellphone. See Exhibit 1, Trial
19
     Exhibits.1 Defendant’s cellphone was seized on Defendant’s person incident to his arrest
20
     on June 30, 2023. The cellphone was then searched pursuant to a search warrant.
21
            The United States moves to admit this evidence because even if the warrant was
22
     overbroad in the time period it authorized, the excess can be severed. Specifically, there is
23
     sufficient probable cause to collect information from January 1, 2022 to September 1, 2022.
24
25 //
26
27
     All other evidence the United States intends to use that may have been originally extracted from
     1

28 Defendant’s  phone has been located in Irasema George’s phone, which this Court ruled admissible. Thus,
   this evidence has an independent source.
     Case 3:23-cr-01291-TWR Document 283 Filed 06/03/24 PageID.1783 Page 2 of 7




 1                                               I.
 2                        STATEMENT OF THE CASE AND FACTS
 3          The United States incorporates the Statement of Facts previously provided in the
 4 United States’ Response in Opposition to Defendant’s Appeal of the Magistrate Judge’s
 5 Decision. Dkt. 157.
 6          On June 30, 2023, Defendant was arrested pursuant to a warrant. Incident to his
 7 arrest, two phones were seized, one from his person and one from his backpack near his
 8 person. See Exhibit 2, Property Received. Agents sought and received a search warrant for
 9 both phones. See Exhibit 3, Search Warrant.
10          In the affidavit for the search warrant, the affiant noted that traffickers will use
11 cellphones for, among other things, “telephone calls, text, web, and voice messages,” and
12 that the use of cellphones “tends to generate evidence that is stored on the cellular
13 telephones, including, but not limited to emails, text messages, photographs, audio files,
14 call logs, address book entries, IP addresses, social network data, and location data.” Id. at
15 pg. 8-9. This type of information could yield, evidence tending to “identify co-
16 conspirators… or others involved,” “travel to or presence at the location involved in the
17 distribution of controlled substances,” and the use of, or person with control” of the phone.
18 Id. at pg. 10.
19          The probable cause portion described an interview with an individual who identified
20 Defendant, through his nickname, as a corrupt Customs and Border Protection Official who
21 was pointed out to him at an adult establishment called “Hong Kong.” Id. at pg. 8. The
22 individual noted that this happened sometime prior to January 30, 2022. Id. at 7-8. The
23 affidavit also described smuggling attempts through April 2022 and that Defendant had
24 been in contact with co-conspirator GALVAN through September 2022. Id. at pg.6-15.
25 Based on all of this, the search warrant sought authorization to seek evidence of crimes on
26 the phone “for the period of October 21, 2021, up to and including June 30, 2023.” Id. at
27 pg. 3.
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     Case 3:23-cr-01291-TWR Document 283 Filed 06/03/24 PageID.1784 Page 3 of 7




 1         The United States now seeks to sever any excess and preserve those portions
 2 consistent with the Fourth Amendment by amending the date range from January 1, 2022
 3 to September 1, 2022.
 4                                              II.
 5                                STATEMENT OF THE CASE
 6         The United States incorporates the Statement of Case previously provided in the
 7 United States’ Response in Opposition to Defendant’s Motions in Limine. Dkt. 157.
 8         On May 16, 2024, the Court granted in part and denied in part Defendant’s Motion
 9 to Suppress and Motions in Limine. This included suppression of a residential search
10 warrant of Defendant’s home.
11         On May 31, 2024, this Court granted the United States’ Motion to Admit Cellphone
12 Evidence, specifically Irasema George’s cellular phone based on her cooperation and
13 consent. Defendant also challenged the admissibility of Defendant’s phone seized at the
14 time of his arrest at the status held before this Court. The Court noted that the issue had not
15 yet been raised or decided.
16         This motion follows.
17                                             III.
18                                         ARGUMENT
19         While this Court has previously found that a similar residential search warrant was
20 invalid for staleness because it lacked sufficient probable cause, the cellphone search
21 warrant at issue here is distinguishable. Any excess in the cellphone warrant is readily
22 severable, allowing the remainder to be admitted. This is because the digital evidence
23 collected from cellphones is easily segregated by creation date, allowing the Court to easily
24 determine a time period where probable cause existed, and whether each individual piece
25 of evidence was created within that period.
26 1.      Applicable Law – Severance
27         “Partial suppression is proper under this circuit’s doctrine of severance, which
28 allows a court ‘to strike from a warrant those portions that are invalid and preserve those
                                                  3
     Case 3:23-cr-01291-TWR Document 283 Filed 06/03/24 PageID.1785 Page 4 of 7




 1 portions that satisfy the fourth amendment.’” United States v. Sears, 411 F.3d 1124, 1129
 2 (9th Cir. 2005) (quoting United States v. Gomez-Soto, 723 F.2d 649, 654 (9th Cir. 1984)).
 3         “Total suppression, on the other hand, is appropriate when a warrant is wholly
 4 lacking in particularity.” Id. “In general, we do not allow severance or partial suppression
 5 ‘when the valid portion of the warrant is a relatively insignificant part of an otherwise
 6 invalid search.’” United States v. SDI Future Health, Inc., 568 F.3d 684, 707 (9th Cir.
 7 2009). However, even when the valid portion of the warrant is smaller than the invalid
 8 portion, severance may be appropriate if it was “a principal portion” of the evidence the
 9 government sought. Id. Total suppression is also appropriate if there are “serious
10 particularity defects.” Sears, 411 F.3d at 1130.
11         The doctrine of severance requires that “identifiable portions of the warrant be
12 sufficiently specific and particular to support severance.” United States v. Spilotro, 800
13 F.2d 959, 967 (9th Cir.1986). Courts should also consider “the relative size of the valid and
14 invalid portions of the warrant in determining whether severance is appropriate.” Sears,
15 411 F.3d at 1130. The flagrancy of the violation is also a consideration. United States v.
16 Crozier, 777 F.2d 1376, 1381 (9th Cir.1985).
17 2.      The Cellular Phone Warrant is Severable.
18         In this case, the similar residential search warrant was previously found invalid
19 because it was stale. See Exhibit 4, Residential Search Warrant. Attachment B for that
20 warrant authorized the seizure of nine different categories of evidence. Only one of these
21 categories included electronic records, including cellular phones, for a period of “January
22 24, 2021 to, and including, the day the phone is seized pursuant to this warrant, on cellular
23 telephones used by and/or belonging to Target Subject.” Id. at pg. 6-7. The Court found
24 the entirety of the warrant invalid because there were insufficient “fresh” facts to find a fair
25 probability that the evidence sought continued to exist at the residence on June 30, 2023,
26 long after Defendant was relieved from primary duties in June of 2022.
27         By contrast, the cellular search warrant only sought digital information, “for the
28 period of October 21, 2021, up to and including June 30, 2023.” Exhibit 3, Search Warrant
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     Case 3:23-cr-01291-TWR Document 283 Filed 06/03/24 PageID.1786 Page 5 of 7




 1 at pg. 3. While the United States concedes that the original date range may still be invalid,
 2 it believes that severing the excess beyond an amended date range of January 1, 2022 to
 3 September 1, 2022, is appropriate.
 4         While this new range eliminates 73 days from the beginning of the original warrant,
 5 and 10 months from the end of the original warrant, this smaller range still represents the
 6 “principal portion” of the evidence the United States originally sought in that it is in the
 7 heart of the range in which the affidavit alleges the conspiracy was active and that
 8 Defendant was also communicating with his co-conspirator Galvan. See SDI Future
 9 Health, Inc., 568 F.3d at 707; Exhibit 3, Search Warrant at pgs. 6-15. It is also narrower
10 than the residential search warrant, seeking only 1 of 9 categories that warrant sought. See
11 Exhibit 4, Residential Search Warrant. Thus, while electronic data was arguably an
12 insignificant portion of the residential search warrant, it is the entirety of the cellphone
13 warrant. The new date range also makes the narrower cellphone warrant sufficiently
14 specific and particular to support severance. Spilotro, 800 F.2d at 967.
15         The nature of the evidence sought also makes it suitable for severance. The text
16 messages that the United States may seek to use are clearly labeled with the dates they
17 were sent and received (March 25, 2022). Exhibit 1, Trial Exhibits. Similarly, the pictures
18 also contain metadata that shows when they were created. Id. Collectively, all of the
19 currently identified potential exhibits were created between February 21, 2022 to August
20 19, 2022, well within the proposed amended time period of January 1, 2022 to September
21 1, 2022.
22         Finally, as this Court has previously found, the flagrancy of the prior violation (the
23 residential search warrant) was not significant. The cellular search warrant, while it suffers
24 from some of the same flaws differs in that cellphone, as courts have universally
25 recognized, differ significantly from analog or physical searches. Modern cellphones are
26 “in fact minicomputers that also happen to have the capacity to be used as a telephone.
27 They could just as easily be called cameras, video players, rolodexes, calendars, tape
28 recorders, libraries, diaries, albums, televisions, maps, or newspapers.” Riley v. California,
                                                  5
     Case 3:23-cr-01291-TWR Document 283 Filed 06/03/24 PageID.1787 Page 6 of 7




 1 573 U.S. 373, 393 (2014). They have “immense storage capacity,” and even the most basic
 2 cellphones “might hold photographs, picture messages, text messages, Internet browsing
 3 history, a calendar, a thousand-entry phone book, and so on.” Id. at 394. Notably, courts
 4 have found that the information stored on cellphones “can often be found months or even
 5 years after it occurred for multiple reasons -- the low cost of data storage, ….and the
 6 common practice to transfer data from an old device to a new device when the old device
 7 is replaced.” United States v. Akparanta, No. 19 CR. 363 (LGS), 2019 WL 5616875, at *2
 8 (S.D.N.Y. Oct. 30, 2019) (citing an agent’s experience regarding data retention in
 9 cellphones in an affidavit, quotations omitted).
10         Based on the information set forth in the affidavit, there was a fair probability that
11 evidence of the crimes created between January 1, 2022 to September 1, 2022, continued
12 to exist on the phone at the time it was seized and later searched.
13                                             IV.
14                                       CONCLUSION
15         For these reasons, the United States respectfully requests that the Court admit the
16 from Defendant’s cellphone created between January 1, 2022 to September 1, 2022.
17
           DATED: June 3, 2024
18
19                                               Respectfully submitted,
20
                                                 TARA K. McGRATH
21                                               United States Attorney
22
                                                 /s/ Brandon J. Kimura
23                                               BRANDON J. KIMURA
24                                               Assistant United States Attorney

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     Case 3:23-cr-01291-TWR Document 283 Filed 06/03/24 PageID.1788 Page 7 of 7




 1                             UNITED STATES DISTRICT COURT
 2
                          SOUTHERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,                 Case No.: 23-CR-1291-TWR

 5
                  Plaintiff,                   CERTIFICATE OF SERVICE
 6
 7
 8          v.

 9
10   LEONARD DARNELL GEORGE aka

11   “The Goalie” (1),

12                Defendant

13         IT IS HEREBY CERTIFIED THAT:
14
15         I, BRANDON J. KIMURA, am a citizen of the United States and am at least eighteen
16 years of age. My business address is 880 Front Street, Room 6293, San Diego, California
17 92101-8893.
18         I am not a party to the above-entitled action. I have caused service of the United

19 States’ Supplemental Motion in Limine to Admit Defendant’s Cellphone Evidence, on the
20 following parties by electronically filing the foregoing with the Clerk of the District Court
21 using its ECF System, which electronically notifies them:
22        Antonio Yoon, Esq.

23 Attorney for Defendant LEONARD DARNELL GEORGE
24       I declare under penalty of perjury that the foregoing is true and correct.
25
     DATED: June 3, 2024
26                                                      /s/Brandon J. Kimura
27                                                      BRANDON J. KIMURA

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                                                 7
